         Case 1:23-cv-01021-DAE     Document 28     Filed 02/18/25   Page 1 of 9




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

    REBECCA PLANTE,                §
    BRITTANY GONZALEZ,             §
    GERARDO URBINA,                §
    Individually and on behalf of  §
    others similarly situated,     § No. 1:23-cv-01021-DAE
                                   §
                       Plaintiffs, §
                                   §
    v.                             §
                                   §
    STORYBUILT, LLC, PSW           §
    REAL ESTATE LLC,               §
                                   §
                     Defendants. §


               ORDER ADOPTING REPORT & RECOMMENDATION
               Before the Court is Plaintiffs’ Motion for Class Certification. (Dkt.

# 14.) On January 7, 2025, United States Magistrate Judge Howell issued a Report

and Recommendation that this Court grant the motion. (Dkt. # 22.) Notice of the

Report and Recommendation was sent to Plaintiffs via electronic transmittal and

Defendants, who have not appeared in this case, via regular and certified mail.1

(See Dkts. ## 22–24, 26–27.)




1
 The Court acknowledges failed certified mail delivery but has received First-
Class mail returns for both Defendants. (Dkts. ## 26, 27.) Both were returned as
undeliverable as addressed and unable to be forwarded. (Dkts. ## 26, 27.)
                                           1
      Case 1:23-cv-01021-DAE       Document 28     Filed 02/18/25   Page 2 of 9




             Where, as here, neither party objects to the Magistrate Judge’s

findings, the Court reviews the Report and Recommendation for clear error. United

States v. Wilson, 864 F.2d 1219, 1221 (5th Cir. 1989). After careful consideration,

the Court adopts the Magistrate Judge’s Report and Recommendation.

                                  BACKGROUND

             On August 30, 2023, Plaintiffs Rebecca Plante, Brittany Gonzalez,

and Gerardo Urbina, individually and on behalf of others similarly situated

(“Plaintiffs”), initiated this putative class action based on Defendants StoryBuilt,

LLC (“Storybuilt”) and PSW Real Estate LLC’s (“PSW,” and together

“Defendants”) alleged violations of the Worker Adjustment and Retraining

Notification Act, 29 U.S.C. § 2101, et seq. (the “WARN Act”) and for breach of

contract. (Dkt. # 1 at 1, ¶¶ 59–67.) Storybuilt is a real estate development,

commercial development, urban infill, and architecture company, and PSW is the

real estate investment arm of Storybuilt. (Id. at ¶¶ 14–15.) Plaintiffs allege that

these entities operate as a single integrated enterprise, which operated as the

employer of Plaintiffs and Class Members. (Id. at ¶¶ 16.) On July 31, 2023,

Defendants terminated Plaintiffs as a part of a mass layoff of approximately eighty-

three employees without sufficient advance notice after failing to pay their wages

for nearly two months. (Id. at ¶¶ 20–22, 41.)




                                          2
       Case 1:23-cv-01021-DAE       Document 28      Filed 02/18/25    Page 3 of 9




             Defendants claimed advance notice was not possible because of

“unforeseeable business and financial circumstances,” but Plaintiffs allege those

circumstances were foreseeable, thus necessitating a proper WARN notice prior to

termination. (Id. at ¶¶ at 20–41) (see also Plante Decl. Dkt. # 14-1, at 3-5

(detailing Defendants’ financial problems)) (Ex. A-3, Dkt. # 14-1 at 12–14 (email

reflecting prior payroll delay).) Plaintiffs seek to certify this case as a class action,

designate Plaintiffs as Class Representative and Plaintiffs’ counsel as class counsel;

a declaration that Defendants violated the claims asserted; damages and attorneys

fees; pre- and post-judgment interest; and any other just and proper relief. (Dkt. #

1 at 11.)

             To date, Defendants have not appeared in this lawsuit. Plaintiffs

moved for, and the Clerk of Court entered, default against both Defendants. (Dkts.

## 8, 9.) On August 26, 2024, Plaintiffs moved to certify a class of approximately

83 former employees who were terminated as part of the July 31, 2023, mass

layoff, so that they may then move for default judgment against Defendants. (Dkt.

# 14 at 3, 8.) Plaintiffs move to certify a class defined as: “[a]ll former employees

of Defendants throughout the United States who were terminated as a result of a

‘mass layoff,’ as defined by the WARN Act, without 60 days advance written

notice, beginning in July 2023.” (Dkt. # 14 at 2.)




                                            3
      Case 1:23-cv-01021-DAE      Document 28      Filed 02/18/25   Page 4 of 9




                                   DISCUSSION

             “To obtain class certification, parties must satisfy Rule 23(a)’s four

threshold requirements, as well as the requirements of Rule 23(b)(1), (2), or (3).”

Maldonado v. Ochsner Clinic Found., 493 F.3d 521, 523 (5th Cir. 2007). The

threshold requirements under Rule 23(a) are: numerosity, commonality, typicality,

and adequacy of representation. Fed. R. Civ. P. 23(a); id.; see also Cruson v.

Jackson Nat’l Life Ins. Co., 954 F.3d 240, 251 n. 11 (5th Cir. 2020). Here,

Plaintiffs seek class certification under Rule 23(b)(3), which means they must also

demonstrate that: (1) “[c]ommon questions must ‘predominate over any questions

affecting only individual members’”; and (2) “class resolution must be ‘superior to

other available methods for the fair and efficient adjudication of the controversy.’”

Cruson, at 252 (quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997)).

   A. Proposed Class Definition

             The Magistrate Judge recommends defining the class more precisely

as “[a]ll former employees of Defendants throughout the United States who were

terminated as a result of a ‘mass layoff,’ as defined by the WARN Act, without 60

days advance written notice, beginning on July 31, 2023,” as opposed to Plaintiffs’

proposal of “[a]ll former employees of Defendants throughout the United States

who were terminated as a result of a ‘mass layoff,’ as defined by the WARN Act,

without 60 days advance written notice, beginning in July 2023.” (Dkt. # 14 at 2)

                                          4
      Case 1:23-cv-01021-DAE       Document 28      Filed 02/18/25   Page 5 of 9




(Dkt. # 22 at 6.) The Magistrate Judge reasons that Plaintiffs allege a single mass

layoff date of July 31, 2023. (Dkt. # 22 at 6.) He further notes that although the

WARN Act contemplates a class definition with flexible dates, the definition

should align more closely with Plaintiffs’ allegations. See 29 U.S.C. § 2102(d)

(noting that “employment losses . . . which occur within any 90-day period shall be

considered to be a . . . mass layoff unless the employer demonstrates that the

employment losses are the result of separate and distinct actions”); see also 20

C.F.R. § 639.5(a)(1)(ii) (noting an employer should “[l]ook ahead 90 days and

behind 90 days to determine whether employment actions . . . will, in the aggregate

for any 90-day period, reach the minimum numbers for a [mass layoff]”).

             Given that the Magistrate Judge’s proposal aligns more closely with

Plaintiffs’ allegations of a single mass layoff date,2 the Court finds no clear error

and will ADOPT the Magistrate Judge’s proposed class definition of “[a]ll former

employees of Defendants throughout the United States who were terminated as a



2
 Although Plaintiffs couch some of the language around the termination date in
their Complaint, the allegations consistently assert that July 31, 2023, was the date
of the mass layoff. For example, Plaintiffs allege in their Complaint that “[o]n or
about July 31, 2023,” Defendants sent Plaintiffs a WARN Act Notice notifying
them of their termination. (Dkt. # 1 at ¶ 20.) Plaintiffs additionally alleged that
Defendants “terminated 83 employees on July 31.” (Dkt. # 1 at ¶ 41.) The
Complaint subsequently states that the termination occurred “on or about July 31[],
2023.” (Dkt. # 1 at ¶ 52(b).) The WARN Act notice Plaintiffs provided in support
of their motion indicates that eighty-three employees “will be separated from
employment effective on July 31, 2023.” (Dkt. # 14-1 at 8.)
                                           5
      Case 1:23-cv-01021-DAE      Document 28      Filed 02/18/25   Page 6 of 9




result of a ‘mass layoff,’ as defined by the WARN Act, without 60 days advance

written notice, beginning on July 31, 2023.” Braidwood Mgmt., Inc. v. Equal

Employment Opp. Cmm’n, 70 F.4th 914, 933–34 (5th Cir. 2023) (noting also that

courts “may modify the classes to fit the requirements better”).

   B. Rule 23(a) Conditions

             The Court also finds no clear error with the Magistrate Judge’s

conclusions that Plaintiffs have satisfied the Rule 23(a) conditions. The proposed

class includes about eighty-three individuals, which district courts have held

sufficient to establish numerosity. See, e.g., Quintero v. Mulberry Thai Silks, Inc.,

No. C 08-02294 MHP, 2008 WL 4666395, at *3 (N.D. Cal. Oct. 22, 2008) (holding

sixty employees sufficient to satisfy numerosity requirement under Rule 23 in

WARN Act context); Stanley v. St. Croix Basic Servs., Inc., No. CIV. 2003/0055,

2008 WL 4861448, at *6 (D.V.I. Nov. 3, 2008) (same for class of sixty-seven).

Although there will likely be factual variation as to damages owed to each class

member because of variations in their last pay, legal and factual questions arising

out of the mass layoff are common to the class. Gomez v. Am. Garment Finishers

Corp., 200 F.R.D. 579, 582 (W.D. Tex. 2000). The Magistrate Judge also properly

concluded that because Plaintiffs’ claims are premised on Defendants’ failure to

provide adequate notice violated both the WARN Act and the class members’

employment contracts, Plaintiffs have met the typicality requirement. Finally, the

                                          6
      Case 1:23-cv-01021-DAE       Document 28     Filed 02/18/25   Page 7 of 9




Magistrate Judge correctly concluded Plaintiffs have satisfied the adequacy

requirement by demonstrating they share the same interests as the class and are

committed to representing the class. Id.

   C. Rule 23(b)(3) Requirements

             The Court also finds no clear error with the Magistrate Judge’s

conclusions that Plaintiffs have satisfied Rule 23(b)(3)’s requirements. As the

Magistrate Judge correctly notes, common issues predominate in this case since

“factual and legal issues that will drive the outcome of the class members’ WARN

Act claims will be decided under identical legal standards and can be resolved

using common evidence.” (Dkt. # 14 at 15.) The Court also agrees with the

Magistrate Judge that because of the nature of WARN Act claims—in that they

“involve a relatively large group of litigants with relatively small individual claims,

each harmed by the same employer”—they are better resolved through class

adjudication. (Id. at 17); Gomez, 200 F.R.D. at 584.

   D. Notice

             The Magistrate Judge also addressed the proper means of providing

notice of this lawsuit to the class members. Fed. R. Civ. P. 23(c)(2)(B). The Court

finds no clear error with the Magistrate Judge’s conclusion that notice should be

provided to potential members through Plaintiffs’ proposed methods of First-Class

mail, postage prepaid, SMS/text, electronic mail to each member of the proposed

                                           7
      Case 1:23-cv-01021-DAE       Document 28      Filed 02/18/25    Page 8 of 9




class at the member’s last known contact information as shown in the Defendants’

records that are in Plaintiffs’ possession, as well as notice by publication, and to

permit at least thirty days from the date of the mailing for each putative class

member to object to class certification or to opt-out of the class.

             Accordingly, the Court finds that the Magistrate Judge’s conclusions

and recommendation are neither clearly erroneous nor contrary to law.

                                      CONCLUSION

             For the aforementioned reasons, the Court ADOPTS the Magistrate

Judge’s Report and Recommendation as the opinion of the Court (Dkt. # 22) and

GRANTS Plaintiffs’ Motion for Class Certification (Dkt. # 14). The certified class

is defined as “[a]ll former employees of Defendants throughout the United States

who were terminated as a result of a ‘mass layoff,’ as defined by the WARN Act,

without 60 days advance written notice, beginning on July 31, 2023.”

             IT IS THEREFORE ORDERED that Plaintiffs Rebecca Plante,

Brittany Gonzalez, and Gerardo Urbina are appointed class representatives, and

Kaplan Law Firm, PLLC is appointed as class counsel.

             IT IS FINALLY ORDERED that Plaintiffs must provide notice to

potential class members through First Class mail, postage prepaid, SMS/text,

electronic mail, at the member’s last known contact information as shown in the

Defendants’ records that are in Plaintiffs’ possession, as well as notice by

                                           8
      Case 1:23-cv-01021-DAE        Document 28       Filed 02/18/25     Page 9 of 9




publication. Each putative class member will have thirty days from the date of the

mailing to object to class certification or to opt-out of the class.

             IT IS SO ORDERED.

             Dated: Austin, Texas, February 18, 2025.




                                        ______________________________________
                                        David Alan Ezra
                                        Senior United States District Judge




                                            9
